       Case 2:22-cv-02001-JVM Document 1-1 Filed 06/30/22 Page 1 of 20




                                                                                                                    <sta» ;
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                                                                                                                                        -n
              CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS o                                                                          r*
                                                                                                                         o
                                     STATE OF LOUISIANA                                                  o‘
                                                                                                                                    (

NO.                                                                                                    Dl^SION^

                                       ALBERT J. HYNES

                                                VS.
                                                                                                            section 15
 LAKEFRONT MANAGEMENT AUTHORITY, BOARD OF COMMISSIONERS OF
THE SOUTHEAST LOUISIANA FLOOD PROTECTION AUTHORITY-EAST, BRUCE
   L. A. MARTIN, DONALD P. JUNEAU, AB INSURANCE COMPANY, AND CD
                        INSURANCE COMPANY


FILED:
                                                                           DEPUTY CLERK

                                 PETITION FOR DAMAGES

The petition of Albert J. Hynes, a major resident and domiciled in St. Tammany Parish,

Louisiana with respect represents;                     CHELSE Y RICHARD NAPOLEON
                                                       CL.E    t;
                                                                    K, CIVIL DISTRICT COURT
                                                  1.   4j2 CIVIL COURT                BUILDIN'
                                                       '1    1 LOYOLA AVE HUE                   ROOMCL
Made defendants herein are;                            NEW ORi... EANS, L             701 T
                                                       504' ■■ 40?' 0000
   A. Lakefront Management Authority (LakefrontManagementj, a political , subdivisiomof-the-
                                                       f-           i[rt D.3'b            /IE     Y     1
       State of Louisiana created pursuant to La.                                and?dbWciled in Orleans
                                                       Cashier                       jbce

       Parish, Louisiana                               E      jister                 CDC Cash R             aister 1

                                                       Ca; ?. Humber                      pi     04315
   B. Board of Commissioners of the Southeast Louisiana Flood Protection.Authbrity=East
                                                            raml Total               3          1.50
       (Southeast Flood Protection), a political subdlViStofr Bf thb'St^te^bfLbffifeiana created
                                                       Et a I a rv:         Ui        $ 0.00
       pursuant to La. R.S. 38:330.1, etseq., whosi'COttfinissiohers ek&iSi§© authority over
                                                       PayiTiemtTran              aotion LJat
       Orleans Levee District territory in Orleans P^psh^.L^uisj.aii|a,liC                1.50

    C. Bruce L.A. Martin, a major resident and domiciled in Plaquemine Parish, Louisiana sued

       individually, and as an employee of defendaip,tif(akefront Managemei^tj?,■i3tg                                   F- a i cl         Ft ,3 i
                                                       Petit! on ter Da mages                     34'44.50 34^44 3j 30.00
    D. Donald P. Juneau, a major resident and domicij^di -iPcStiicigharles                Parish,rj(ppid^ian^;,§uqd :]5i 1.00
                                                       Building Eund F                                      ,00    3'        .00 30.00
       individually, and as an employee of defenda?p^j$p,uftpa^(r^                    Protectipq,P5l.cahS fcpype                         I .uo
                                                                                                      32t ,50      326.50 3' 1.00
       District Police.                                     up rem         Court- F'ldc           310.00          310.00 30.00
                                                            ssirig F'
                                                       ExhibifeTPapefi                                38.00        38.00                30.00




                                                                                                  5^
                                                                                                             Exhibit 1
         Case 2:22-cv-02001-JVM Document 1-1 Filed 06/30/22 Page 2 of 20




   E.        AB Insurance Company, a company authorized to and doing business in Louisiana and at

         all times herein the liability insurer of defendant Lakefront Management and its

         employees

   F.        CD Insurance Company, a company authorized to and doing business in Louisiana and at

         all times herein the liability insurer of defendant Southeast Flood Protection and its

         employees.

                                                  2.

The defendants are liable jointly, severally and in solido for all damages due under the premises

plus all court costs, exemplary damages, reasonable attorney’s fees, and judicial interest from

date of demand until paid for this.

                                                  3.

Petitioner was employed as a civil service Southeast Flood Protection Orleans Levee District

police officer on or about March 11, 2019.

                                                   4.

Petitioner was assigned to defendant Lakefront Management’s New Orleans Lakefront Airport

in New Orleans, Louisiana as the Orleans Levee District Police security, and liaison officer

between the Orleans Levee District Police and management at Lakefront Management’s

Lakefront Airport.

                                                   5.

On or about August 10, 2020 defendant Martin, in his capacity as Airport Director for the

Lakefront Airport, filed a written complaint against petitioner addressed to Wilma Heaton, a

member of defendant Lakefront Management.

                                                   6.

Defendant Martin alleged petitioner:

    A.         was a liability to defendant Lakefront Management while at the airport, brought no value

          to the airport, and a waste of the airport’s money

    B.        was biased against and harassing Flightline First’s general manager, neglecting to assist

          her needs in favor of Signature Aviation’s general manager.




                                                                                        Exhibit 1
        Case 2:22-cv-02001-JVM Document 1-1 Filed 06/30/22 Page 3 of 20




   C. failed to take a driver’s test for operating a vehicle on the airport’s non-public taxiways

        and runways, allegedly required by the FAA to drive in those areas

   D. operates an unmarked police vehicle and does not wear a police uniform at the airport

   E. does not work evening hours at the airport

   F. on March 23, 2020 left his vehicle’s rear door open and there may have been an AR-15 in

        the trunk

   G. on April 27, 2020 harassed two minority males one of whom flew in on a private plane

        for an interview with a representative of Flightline First

   H. does not conduct patrols around the airport unless he thinks it will get him a headline

        with DEA or FBI.

   1.   signals out minorities at the airport without just cause.

                                                   1.

Four months later, on or about December 10, 2020 petitioner for the first time was notified in

writing by Derek E. Boese, Chief Administrative Officer of defendant Southeast Flood

Protection , he was under investigation and suspended for the below listed violations of policies

in Southeast Flood Protection’s Employee Handbook namely:

   A. used threatening, abusive, foul, offensive, or language insulting to the public or group of

         individuals

   B. committed acts of sexual or other types of prohibited harassment

    C. was discourteous while carrying out his duties

    D. was negligent in carrying out his duties.

                                                   8.

CAO Boese alleged in writing there were multiple employees of defendant Lakefront

Management airport, business enterprise representatives and private citizens who made the

complaints.

                                                   9.

Kerry Najolia, Superintendent of the Orleans Levee District Police, was not previously notified

of all of the complaints listed below against petitioner known by defendants since on or before




                                                                                     Exhibit 1
      Case 2:22-cv-02001-JVM Document 1-1 Filed 06/30/22 Page 4 of 20




December 10, 2020 and given the opportunity to investigate and/or take corrective action per the

policy of the Orleans Levee District Police.

                                                10.

On or about February 22, 2021 petitioner received a written notice from CAO Boese the below

listed employee policy violations by petitioner were sustained:

   A. Sexual Harassment- petitioner allegedly engaged in unwelcomed conduct of a sexual

       nature towards multiple female persons at the Lakefront Airport

   B. Moral Conduct- petitioner disparaged what CAO Boese described as persons of color,

       accusing them of lying and being on the premises to purchase drugs without verifying if

       one of the persons stopped on airport property was on the property for an interview.

    C. Neglect of Duty- petitioner exhibited racially biased conduct while on-duty at the

       Lakefront Airport from March to September 2019, and ignored the airport’s

       organizational line of supervision.

    D. Firearms- petitioner left a firearm unsecured and unattended in plain view in his parked

       unmarked police unit; left an unsecured weapon in an unlocked non-police vehicle; and

       notified a defendant Lakefront member on August 25, 2019 he may have left his on-duty

       firearm unsecured, later found in the office unsecured.

                                                11.

Petitioner retained an attorney for the civil service hearing who responded to CAO Boese’s

sustained allegations as follows:

    A. Sexual Harassment- only one sexual harassment complainant was identified by

        defendants at the Lakefront Airport. The female complainant perceived petitioner as a

        creepy old white guy who wore cowboy boots, and petitioner is informed and believes and

        on such information and belief alleges her visual perception served as the basis for her

        sexual harassment complaint. Petitioner denies all allegations of sexual harassment.

        Petitioner only interacted with the female complainant when, as liaison officer, he went

        to speak with Louis Capo, Executive Director of defendant Lakefront Management. Mr.

        Capo’s office adjoined complainant’s office. He also spoke to her occasionally in his

        capacity as a liaison officer about airport procedure regarding matters such as the need




                                                                                     Exhibit 1
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   for a permit. Petitioner is informed and believes and on such information and belief

   alleges Mr. Capo and another witness were deliberately not interviewed by defendant

   Juneau. Capt. Juneau was assigned by defendant Southeast Flood Protection’s non-police

   department supervisors to investigate all complaints against petitioner months after it was

   alleged the violations occurred.

B. Courtesy and Profane language- Petitioner was not given the names of the person(s) who

   complained he was discourteous and/or used profane language, other than when it was

   included in the other alleged policy violations.

C. Moral Conduct- a review of the statements of defendants described by CAO Boese as

   people of color revealed neither complainant informed defendant Juneau petitioner made

   remarks about their ethnicity nor did it play a role in petitioner’s actions on April 27,

   2020. The airport was closed to the public due to the Covid-19 pandemic. The

   complainants’ major concern was petitioner was a security guard impersonating a police

   officer even though petitioner identified himself as a police officer. Both men were white

   males. The manager of Signature Aviation previously alerted petitioner to the two men

   who were observed driving around an airport parking lot twice, and then parked again.

   The alleged complaint by the two males, filed in early May 2020 was not brought to the

   attention of Superintendent Najolia and petitioner’s immediate supervisor shortly after

   the incident occurred. Defendant Juneau did not interview defendant Martin.

D. Pattern of Racially Biased Conduct- The allegation petitioner is racially biased was

   partially if not fully based on former Airport Manager Tyrone Powell’s mistaken belief

    petitioner shot an African-American when he was a New Orleans Police Officer. Mr.

    Powell opined petitioner bypassed him while he was airport manager because he was

    black. Powell mistakenly believed he was petitioner’s supervisor and his assignment was

    to issue badges. Petitioner is informed and believes and on such information and belief

    alleges Mr. Powell believed Mr. Martin understood petitioner was a racist because

    Martin's wife or girlfriend was African-American. Petitioner’s chain of supervisors at the

    Orleans Levee District Police Department did not include defendant Lakefront

    Management’s airport supervisors. Petitioner was never told by Orleans Levee District




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   Police supervisor(s) defendant Lakefront Management airport supervisors were also his

   supervisors while he was assigned to the Lakefront Airport and instructed to report to one

   of them for assignments. Petitioner is informed and believes and on such information

   and belief alleges Mr. Powell is an opportunist who does not hesitate to use the race card.

   Mr. Powell was terminated in September 2019 for not reporting to work during Tropical

   Storm Barry.

E. Leaving Weapons Unattended- A closer examination of the text messages sent by

   complaint alleging petitioner’s police unit’s rear hatch door was open did not allege there

   was a weapon in the rear of an SUV. The complainant’s text stated, Hope there are no

   guns in his vehicle. The complainant based her allegations solely on information from

   police friends who told her they stored their weapons in a trunk, not what she actually

   saw in the rear of the SUV. Photos furnished by the complainant do not show a weapon

   in the rear section of petitioner’s SUV. Petitioner is informed and believes and on such

   information and belief alleges the complainant believed petitioner desired to arrest her

   when defendant Juneau interviewed her in September 2020. Defendant Juneau

   intentionally did not interview federal law enforcement witnesses, whose names were

   given by petitioner to be interviewed during his investigation. Petitioner’s witnesses

   were able to address why complainant feared she would be arrested, and other complaints

   allegedly filed against petitioner by the manager of Flightline First.

   While defendant Southeast Flood Protection has a policy requiring specific equipment for

   the safe storage of a rifle, it does not supply the firearms and equipment necessary to

   comply with the policy. Petitioner purchased his own locking case for his issued patrol

   rifle.

   Mr. Powell complained he once sat in an airport vehicle temporarily assigned to

   petitioner and observed an AR-15 in the rear seat. Mr. Powell allegedly got a spare key

   to the vehicle from his office, unlocked the vehicle, sat in it, then got out of the vehicle

    and locked it. He later discussed his observations of a rifle with defendant Martin

   without any other supporting evidence, and could not state who retrieved the rifle from




                                                                                   Exhibit 1
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the car. Both Powell and defendant Martin were more interested in complaining about

petitioner having an assigned take home car and they did not.

Petitioner denies he left his on-duty automatic handgun in his office. Assuming this

incident actually took place, the complaint petitioner left his on duty weapon in his office

confirms the incident did not violate defendant Southeast Flood Protection’s employee

policy regarding weapons since his handgun was in his private office.

                                             12.

During his investigations, defendant Juneau opened an interview by telling witnesses he

believed the facts supporting their complaints.

                                             13.

Defendant Juneau intentionally phased his questions to solicit an answer supporting the

complaint and petitioner’s pre-determined termination.

                                             14.

During his interview with the female who made the sexual harassment complaint against

petitioner defendant Juneau urged her to contact him directly and opined petitioner’s

conduct was unbecoming an officer, disparaging his own police department and the

superintendent.

                                             15.

Petitioner is informed and believes and on such information and belief alleges defendant

Juneau intentionally violated Orleans Levee District Police’s internal policies and

procedures by intentionally failing to keep Supt. Kerry Najolia updated on the

investigation and presenting his completed internal affairs report through Supt. Najolia’s

for review and approval before it was forwarded to CAO Boese.

                                             16.

 On or about March 10, 202ICAO Boese notified petitioner in writing he was terminated

effective that date, stating petitioner’s conduct impaired defendant Southeast Louisiana

 Flood Protection’s and Orleans Levee District Police Department’s efficient and orderly

providing public service to the community and the Lakefront Airport, and undermined




                                                                              Exhibit 1
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trust in defendant Louisiana Flood Protect and the Orleans Levee District Police

Department.

                                             17.

On March 22, 2021 petitioner timely appealed his termination to the Louisiana State Civil

Service Commissioners, docket # S-18734.

                                             18.

On May 21, 2021 Civil Service Referee Brent Frederick issued a Notice of Possible

Defects in Appeal requesting a memorandum opposing why a judgment should not be

entered, or certain allegations should not be struck from petitioner’s disciplinary notice.

                                             19.

Fearing defendants would continue their plan to embarrass, humiliate, and again fire

petitioner at the first opportunity if he were reinstated as an employee of defendant

Southeast Louisiana Flood Protection, petitioner and defendant reached a Settlement

Agreement wherein petitioner was deemed to have resigned effective December 31,

2021.

                                             20.

 Petitioner received back pay and any emoluments due between March 10, 2021 and

 December 31, 2021 and counseling would be the appropriate action for violating the rules

 cited in the agreement.

                                             21.

 Petitioner’s appeal was dismissed after the settlement agreement was approved by all

 parties and Referee Frederick.

                                             22.

 Petitioner is informed and believes and on such information and belief alleges defendants

 Southeast Louisiana Flood Protection and Juneau’s materially flawed internal affairs

 investigation and recommendations, and subsequent bypassing petitioner’s police

 supervisors was conducted and processed for the intentional purpose of wrongfully

 terminating him because he is a senior white male and a whistleblower; or in the




                                                                               Exhibit 1
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       alternative defendants Southeast Louisiana Flood Protection and Juneau negligently

       breached their duties as follows:

       A. Failing to timely notify petitioner and his Orleans Levee District supervisors of each

           complaint lodged against petitioner and allow the superintendent to investigate and

           take appropriate action is necessary

       B. Failing to properly follow policies and procedures detailing how a complaint against

           an Orleans Levee District police officer should be investigated

       C. Failing to conduct the investigation(s) objectively and without bias

       D. Failing to locate and interview all witnesses or people who had knowledge of the

           incidents or activity complained of

       E. Failing to gather all items supporting or not supporting the allegations contained in

           the complaints

       F. Targeting petitioner for termination and terminating him without just cause

       G. Obstructing possible criminal investigations by local and federal law enforcement

           officials.

                                                  23.

Petitioner is informed and believes and on such information and belief alleges defendant

Lakefront Management and its supervisors at the Lakefront Airport were informed on more than

one occasion of petitioner’s assigned duties while serving in the capacity of security and liaison

officer at the airport, and he reported to supervisors at the Orleans Levee District Police for

additional duties.

                                                  24.

At all times herein defendants Southeast Louisiana Flood Protection, Lakefront Management,

Martin, and Juneau held petitioner to a higher standard of performance than his female and

younger males and minority counterparts because he is a senior white male, described by one

complainant as wearing boots all in violation of La. R.S. 23:301, et seq. and Title VII, 42 V.S.C.

§ 2000e, et seq.




                                                                                       Exhibit 1
     Case 2:22-cv-02001-JVM Document 1-1 Filed 06/30/22 Page 10 of 20




                                                 25.

Petitioner is informed and believes and on such information and belief alleges defendants

conspired to and carried out a plan to create a hostile work environment and/or terminate his

employment with defendant Southeast Louisiana Flood Protection simply because he was white,

over 40 years of age, and did not go along with possible administrative and/or illegal violations

at the airport to get along with airport supervisors and business personnel, all in violation of La.

R.S. 23:301, et seq. and Title VII, 42 U.S.C. § 2000e, et seq.

                                                 26.

Petitioner is informed and believes and on such information and belief alleges he observed and

was the recipient of disparate disciplinary action taken by defendants when it came to

entertaining complaints against and later disciplining him, when compared to defendants

entertaining similar complaints and later disciplinary action involving younger and minority

males, and female police officers for the same or similar alleged violations of defendants

Southeast Louisiana Flood Protection and Lakefront Management policies; creating a disparate

and hostile work environment for him all in violation oiLa. R.S. 23:301, etseq. and Title VII,

42 U.S.C. §2000e, etseq.

                                                 27.

Petitioner is informed and believes and on such information and belief alleges defendants written

accusations are false and libelous.

                                                 28.

State courts have concurrent jurisdiction with federal courts to adjudicate claims arising under

Title VII of the Civil Rights Act 42 U.S. C. § 2000e, et seq.; Yellow Freight System, Inc. v.

Donnelly, 494 U.S. 820, 821, IIOS. Ct. 1566,1567,108L. Ed. 2d 834; Smith v. Lorch, 98-0319

(La. App. 1 Cir. 04/04/1999); 730 So.2d 530, 533.

                                                 2^

Petitioner suffered the below damages as a result of defendants’ acts of gender, race and age

discrimination, disparate treatment, and creation of a hostile work environment:

    A.       Past, present, and future loss of wages

    B.       Past, present, and future loss of reputation in the community




                                                                                       Exhibit 1
      Case 2:22-cv-02001-JVM Document 1-1 Filed 06/30/22 Page 11 of 20




                                                                                  'cP
                                                                                    -AC-            O
   C. Past, present, and future keen mental anguish

   D. Past, present, and future loss of enjoyment of his chosen career.                 %
                                               50
Attach to, and made a part of this petition and marked Exhibits 1 & 2 respectively is a notice of

petitioner’s right to sue letter and an official complaint with the Louisiana Ethics Commission.

Wherefore, petitioner Albert J. Hynes, III prays after all legal delays and due proceedings there

is judgment in his favor and against defendants Lakefront Management Authority, Board of

Commissioners of the Southeast Louisiana Flood Protection Authority-East, Bruce L.A. Martin,

Donald P. Juneau, AB Insurance Company, and CD Insurance Company jointly severally, and in

solido for all damages due under the premises plus all costs, exemplary damages, reasonable

attorney’s fees, and judicial interest from date of demand until paid.



                                      Raymond C. Burkart, JrjAttomey        tS^LLC



                                      By:
                                                Raymond C. Burkart, Jr. (#3673)
                                                Attorney for Petitioner
                                                321 N. Florida St. # 104
                                                Covington, LA 70433
                                                Tel. #985.893.3390
                                                Fax #985.892.4100


                                         VERIFICATION

Before me, the undersigned notary came and appeared Albert J. Hynes, III and after being duly

sworn did depose and state:

    1. He can read, write, and understands the English language

    2. He read and understands the allegations contained against the defendants named in the

        above petition for damages




                                                                                     Exhibit 1
     Case 2:22-cv-02001-JVM Document 1-1 Filed 06/30/22 Page 12 of 20




   3. All of the allegations contained therein are true and correct to the best of his knowledge,

      information, and belief.


                                                    Albert J. Hynes,   I




Sworn to and subscribed before me this              day of             /                    2022.



                                             Rat^Qjorfd^TBurki      r. (#3673)




Please Serve:

Lakefront Management Authority
Thru the Commission Chairman, Anthony Richard
6001 Stars and Stripes Blvd. #219
N.O.,LA 70122

Board of Commissioners of the Southeast Louisiana Flood Protection Authority-East
Thru the Commission President, Mark L. Morgan
6920 Franklin Ave.
N.O., LA 70122

Bruce L.A. Martin
At his place of employment
Lakefront Management Authority
6001 Stars and Stripes Blvd.
N.O.,LA 70122

Donald P. Juneau
At his place of employment
Orleans Levee District Police
6920 Franklin Ave.
N.O.,LA 70122




                                                                                    Exhibit 1
      Case 2:22-cv-02001-JVM Document 1-1 Filed 06/30/22 Page 13 of 20

       U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                   New Ovlenns Field Office
                                                                                  500 Poydras Street ,SuiteS09
                                                                                New Orleans .Louisiana ,70130
                                                                                              (504) 635-2531
                                                                                     Website; www.eeoc.gov


                  DETERMINATION AND NOTICE OF RIGHTS
                       (This Notice replaces EEOC FORMS 161 & 161-A)

                          Issued On: 03/22/2022
To: Albert J. Hynes III
    16 Bleu Lake Drive
COVINGTON, LA 70435
                                                                                      co
Charge No; 461-2022-01054                                                              ZB
                                                                                                   —s.           -n
                                                                                            o
                                                                                                    o
 EEOC Representative and email:          Vera Sumpter                                                -o
                                         Investigator
                                         vera.sumpter@6eoc.gov                          5(3          VJl



                               DETERMINATION OF CHARGE

The EEOC issues the following determination; The EEOC will not proceed further with its
investigation and makes no determination about whether further investigation would establish
violations of the statute. This does not mean the claims have no merit. This determination does
not certify that the respondent is in compliance with the statutes. The EEOC makes no finding as
to the merits of any other issues that might be construed as having been raised by this charge.

                           NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)

If you file a lawsuit based on this charge, please sign-in to the EEOC Public Portal and upload the
court complaint to charge 461-2022-01054.




                                                                                  VERIFIED

                                                                                            Exhibit 1            1
         Case 2:22-cv-02001-JVM Document 1-1 Filed 06/30/22 Page 14 of 20

   rsi     U.S. EQUAL EMPLOYMENT OPPORTUNITY COMNHSSION
                                                                                             New Orleans Held Office
                                                                                           500 Poydras Street ,Suite809
                                                                                         New Orleans .Louisiana ,70130
                                                                                                       (504) 635-253!
                                                                                              Website: www.eeoc.gov


                                              On Behalf of the Commission;

                                                 Digitally Signed By:Rayford 0. Irvin
                                                              03/22/2022______________________

                                                 Rayford O. Irvin
                                                 District Director



Cc:
Shelly Raybom
HR Director
Lakefront Management Authority
sarbom@NOLAlakefront.com

Raymond C Burkart
Attorney At LawLaw Office
burkartr@bellsouth.net



Please retain this notice for your records.




                                                                                                    Exhibit 1
    Case 2:22-cv-02001-JVM Document 1-1 Filed 06/30/22 Page 15 of 20



             LAW OFFICES OF RAYMOND C. BURKART, JR., LLC
                     321 N. FLORIDA ST., SUITE 104
                         COVINGTON, LA 70433
                         TEL. NO. (985) 893-3390
                            FAX (985) 892-4100
                                                                                    'cr>
    April 25, 2022                                                                             3=--    -n
                                                                                     o—         o      m
    Louisiana Ethics Administration Program                                                     -o
    P.O. Box 4368                                                                     CP
    Baton Rouge, LA 70821


    Re: Charging Party: Albert J. Hynes, III
        Respondents: Lakefront Management Authority
                      Board of Commissioners of the Southeast Louisiana Flood
                      Protection Authority-East
                      Bruce L.A. Martin
                      Donald P. Juneau

    Dear Sir or Madam:

    Albert J. Hynes, III is lodging a formal Ethics Complaint against Lakefront Management
    Authority, a political subdivision of the State of Louisiana pursuant to La, Jf.S.38:
    330.12,1', Board of Commissioners of the Southeast Louisiana Flood Protection
    Authority-East; Bruce L.A. Martin, an employee of Lakefront Management Authority,
    and Donald P. Juneau, an employee of the Orleans Levee District Police Department.

    Attached is a copy of Mr. Hynes’ petition to be filed in the Civil District Court for the
    Parish of Orleans.

    Also attached is EEOC Notices of Mr. Hynes’ right to sue.

    If I can be of any further assistance, please feel free to call or write me.


    .Smcer^ly,

/       //       '

    Raymond C. Burkart, Jr.

    enc: petition
    cc: A. Hynes




                                                                                   VERIFIED
                                                                                           Exhibit 1
       Case 2:22-cv-02001-JVM
        CERTIF1»|/1AIL™       Document 1-1 Filed 06/30/22 Page 16 of 20
                            RECEIPT
a        (pomesil^Nd Insurance Coverage Provided)
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m      ' ■> For delivery information visit pur website at www.usps;com<p
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        Restricted Delivery Fee                                                                    *^s>
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a      'Street'Aptyi^o.;'"'^............ ..............................................................................................
        orPOBoxNo,



                                                                                         See Reucrsc for Instructions J
       PS Form 3B00, AMgus|.2OO6 ,




                                                                                                                                          Exhibit 1
                           Case 2:22-cv-02001-JVM Document 1-1 Filed 06/30/22 Page 17 of 20
ATTORNEY'S NAME:                   Burkart, R»''mond C 03673
AND ADDRESS:                       321 N FI6.    Street, Suite 104 , Covington, LA 70433

                            CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                         STATE OF LOUISIANA
                  NO: 2022-04315                                DIVISION: J                                             SECTION: 15
                                                           HYNES, ALBERT J.
                                                                    Versus

                                        LAKEFRONT MANAGEMENT AUTHORITY ET AL

                                                                 CITATION
TO:                         MARTIN, BRUCE L. A.
                            AT HIS PLACE OF EMPLOYMENT: LAKEFRONT MANAGEMENT AUTHORITY, 6001
                            STARS AND STRIPES BLVD, NEW ORLEANS, LA 70122
YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
PETITION FOR DAMAGES
a certified copy of which accompanies this citation, or file an answer or other legal pleading within the delay
provided by Civil Code of Procedure Article 1001. The mentioned article is noted on the back of this page for
your reference. You may make your filing in the office of the Clerk of this Court, Room 402, Civil Courts
Building, 421 Loyola Avenue, New Orleans, LA 70112.
                                          ADDITIONAL INFORMATION
       Legal assistance is advisable. If you want a lawyer and can’t find one, you may contact the New
       Orleans Lawyer Referral Service at hups://neworlcansbar.community.lawyer/. This Referral Service
       operates in conjunction with the New Orleans Bar Association. If you qualify, you may be entitled to
       free legal assistance through Southeast Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-
        1000.
       ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********
IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the
Parish of Orleans, State of LA May 19, 2022
Clerk's Office, Room 402                                                          CHELSEY RICHARD NAPOLEON, Clerk of
Civil Courts Building                                                             The Civil District Court
421 Loyola Avenue                                                                 for the Parish of Orleans
N—'                       T A '7011',


    (00) 2022-4315 - Service Date 06/06/2022 Time 4:17 PM                                                            Clerk
    BRUCE MARTIN
                                                                            tETURN
                                                                             servers only)
    Personal at 6001 STARS AND STRIPES BD
                                                                                                       DOMICILIARY SERVICE
    Gregory Marshall # 492,
t                                                                           On this                                                  served a copy of_
                                                                                                                      day of_____________________
I   Citation & Petition; Serial# 1;                                         he within
1                                                                           PETITION FOR DAMAGES
(                                                                           3N MARTIN, BRUCE L. A.

              I                                                              THROUGH:
                                                                            by leaving same at the dwelling house, or usual place of abode, in the hands of
             Signature                                                                                                              a person of suitable age and
                                                                             liscretion residing therein as a member of the domiciliary establishment, whose
L                                                                           name and other facts connected with this service I learned by interrogating
                                                                            HIM/HER the said MARTIN, BRUCE L. A. being absent from the domicile at
Mileage: *                                                                  time of said service.
              00 2022-4315 /1 / 9935                                      I                                  Returned the same day
                                                          Badge # 492
                  00/AJ                                                                                                      _ No.
                                                                           Deputy Sheriff of




      ID: 10920510                                                  Page 1 of2

                                                                                                                                 Exhibit 1
                        Case 2:22-cv-02001-JVM
                         CIVIL  DISTRICT COURT Document
                                                   FOR1-1 Filed
                                                        THE     06/30/22
                                                             PARISH    OFPage 18 of 20
                                                                          ORLEANS
                                                  STATE OF LOUISIANA
         V
               NO: 2022-04315                             DIVISION: J                                              SECTION: 15
                                                       HYNES, ALBERT J.

                                                                 Versus
                                   LAKEFRONT MANAGEMENT AUTHORITY ET AL

                                                           CITATION
TO:                         JUNEAU, DONALD P.
                            AT HIS PLACE OF EMPLOYMENT: ORLEANS LEVEE DISTRICT POLICE, 6920
                            FRANKLIN AVE., NEW ORLEANS, LA 70122
YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
PETITION FOR DAMAGES
a certified copy of which accompanies this citation, or file an answer or other legal pleading within the delay
provided by Civil Code of Procedure Article 1001. The mentioned article is noted on the back of this page for
your reference. You may make your filing in the office of the Clerk of this Court, Room 402, Civil Courts
Building, 421 Loyola Avenue, New Orleans, LA 70112.
                                          ADDITIONAL INFORMATION
       Legal assistance is advisable. If you want a lawyer and can’t find one, you may contact the New
       Orleans Lawyer Referral Service at https://neworleansbar.community.lawyer/ . This Referral Service
       operates in conjunction with the New Orleans Bar Association. If you qualify, you may be entitled to
       free legal assistance through Southeast Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-
        1000.
       ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********
IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the
Parish of Orleans, State of LA May 19, 2022
Clerk's Office, Room 402                                                      CHELSEY RICHARD NAPOLEON, Clerk of
Civil Courts Buildinu                                                         The Civil District Court
                                                                              for the Parish of Orleans
 (00) 2022-4315 - Service Date 06/06/2022 Time 11:43
                                                                              Sta TL
 DONALD P. JUNEAU
                                                                                                                Clerk
 Personal at 6920 FRANKLIN AV
 Gregory Marshall #492, Orleans                                        i RETURN
 Citation & Petition; Serial# 2;                                       ss servers only)
 Ryan Foster                                                                              DOMICILIARY SERVICE
                                                                        On this                                         served a copy of
                                                                                                         day of______________________
                                                                        the within
                                                                        PETITION FOR DAMAGES
                                                                        ON JUNEAU, DONALD P.
         Signature
                                                                        THROUGH:
                                                                        by leaving same at the dwelling house, or usual place of abode, in the hands of
                                                                         _______________________________________ __ a person of suitable age and
                                       No.___                            liscretion residing therein as a member of the domiciliary establishment, whose
Deputy Sheriff of                                                         amc and other facts connected with this service 1 learned by interrogating
                                   12 I9302B                              IM/HER the said JUNEAU, DONALD P. being absent from the domicile at
Mileage; $.
                      2022-43^ 5                       Badge #             ne of said service.
                00                                                                                       Returned the same day
                    oof M                                                                                  ____ ______ No.
                                                                           puty Sheriff of
         SEI                                                       I




      ID: 10920511                                           Page 1 of2




                                                                                                                           Exhibit 1
                     CIVIL
                     Case   DISTRICT COURT
                          2:22-cv-02001-JVM     FOR THE
                                            Document      PARISH
                                                     1-1 Filed 06/30/22 ORLEANS
                                                                     OF Page 19 of 20
                                          STATE OF LOUISIANA
           NO: 2022-04315                               DIVISION: J                                        SECTION: 15
                                                  HYNES, ALBERT J.
                                                            Versus

                               LAKEFRONT MANAGEMENT AUTHORITY ET AL

                                                        CITATION
TO:                  BOARD OF COMMISSIONERS OF THE SOUTHEAST LOUISIANA FLOOD
                     PROTECTION AUTHORITY-EAST
THROUGH:             THE COMMISSION PRESIDENT, MARK L. MORGAN
                     6920 FRANKLIN AVE., NEW ORLEANS, LA 70122
YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
PETITION FOR DAMAGES
 a certified copy of which accompanies this citation, or file an answer or other legal pleading within the delay
provided by Civil Code of Procedure Article 1001. The mentioned article is noted on the back of this page for
your reference. You may make your filing in the office of the Clerk of this Court, Room 402, Civil Courts
Building, 421 Loyola Avenue, New Orleans, LA 70112.
                                         ADDITIONAL INFORMATION
      Legal assistance is advisable. If you want a lawyer and can’t find one, you may contact the New
      Orleans Lawyer Referral Service at https://neworleansbar.community.lawyer/ . This Referral Service
      operates in conjunction with the New Orleans Bar Association. If you qualify, you may be entitled to
      free legal assistance through Southeast Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-
       1000.
      ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********
IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the
Parish of Orleans, State of LA May 19, 2022
Clerk's Office, Room 402                                                 CHELSEY RICHARD NAPOLEON, Clerk of
Civil Courts Building                                                    The Civil District Court
421 Loyola Avenue                                                        for the Parish of Orleans
New Orleans, LA 70112                                                               ifL
                                                                         by
                                                                         Malik Haley,DepiH Clerk
                                                                  RETURN
  (00) 2022-4315 - Service Date 06/06/2022 Time 11:43             s servers only)
  BOARD OF COMMISSIONERS FOR THE SOUTHEAST
                                                                                            DOMICILIARY SERVICE
                                                                  On this                                  day of______________________
                                                                                                                          served a copy of
  Personal at 6920 FRANKLIN AV                                    the within
  Gregory Marshall #492,                                          PETITION FOR DAMAGES
  Citation & Petition; Serial# 4;




                 a
                                                                  ON BOARD OF COMMISSIONERS OF THE SOUTHEAST LOUISIANA
  Ryan Foster                                                     FLOOD PROTECTION AUTHORITY-EAST
                                                                  THROUGH: THE COMMISSION PRESIDENT, MARK L. MORGAN
                                                                  by leaving same at the dwelling house, or usual plaec of abode, in the hands of
                                                                  ___________________________________________ a person of suitable age and
                                                                  discretion residing therein as a member of the domiciliary establishment, whose
        Signature                                                 name and other facts connected with this service 1 learned by interrogating
                                                                  HIM/HER the said BOARD OF COMMISSIONERS OF THE SOUTHEAST
                                                                  LOUISIANA FLOOD PROTECTION AUTHORITY-EAST being absent from
                                                                  the domicile at time of said service.
                                                                                                  Returned the same day
         00 2022-4315 / 4 ! 9302B                                         _______                      _______ No.______________________
         00/AJ                                                    Deputy Sheriff of
                                               Badge #492


                                    ■■■■■

      ID: 10920509                                          Page 1 of2




                                                                                                                    Exhibit 1
                      CIVIL
                      Case    DISTRICT COURT
                           2:22-cv-02001-JVM  Document THEFiled
                                                  FOR1-1    PARISH
                                                                06/30/22  ORLEANS
                                                                       OFPage 20 of 20
                                            STATE OF LOUISIANA
                 NO: 2022-04315                           DIVISION: J                                         SECTION: 15
                                                    HYNES, ALBERT J.
                                                            Versus

                                  LAKEFRONT MANAGEMENT AUTHORITY ET AL

                                          CITATION
TO:                   LAKEFRONT MANAGEMENT AUTHORITY
THROUGH:              THE COMMISSION CHAIRMAN, ANTHONY RICHARD
                      6001 STARS AND STRIPES BLVD, #219, NEW ORLEANS, LA 70122
YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
PETITION FOR DAMAGES
a certified copy of which accompanies this citation, or file an answer or other legal pleading within the delay
provided by Civil Code of Procedure Article 1001. The mentioned article is noted on the back of this page for
your reference. You may make your filing in the office of the Clerk of this Court, Room 402, Civil Courts
Building, 421 Loyola Avenue, New Orleans, LA 70112.
                                           ADDITIONAL INFORMATION
        Legal assistance is advisable. If you want a lawyer and can’t find one, you may contact the New
        Orleans Lawyer Referral Service at https://neworleansbar.community.lawyer/ . This Referral Service
        operates in conjunction with the New Orleans Bar Association. If you qualify, you may be entitled to
        free legal assistance through Southeast Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-
         1000.
        ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE********
IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the
Parish of Orleans, State of LA May 19, 2022

Clerk’s Office, Room 402                                                 CHELSEY RICHARD NAPOLEON, Clerk of
Civil Courts Ruildina                                                    The Civil District Court
                                                                         for the Parish of Orleans
(00) 2022-4315 - Service Date 06/06/2022 Time 4:57 PM                    St
LAKEFRONT MANAGEMENT AUTHORITY THRU
                                                                         Malik H^e^D^V Clerk
Personal at 6001 STARS AND STRIPES BD
Gregory Marshall # 492, Orleans                                 S RETURN
Citation & Petition: Serial# 3;                                 ess servers only)
                                                                                             DOMICILIARY SERVICE
                                                                  On this                                          day of________________________
                                                                                                                                  served a copy of
                                                                  the within
                                                                  PETITION FOR DAMAGES
          Signature                                               ON LAKEFRONT MANAGEMENT AUTHORITY
                                                                  THROUGH: THE COMMISSION CHAIRMAN, ANTHONY RICHARD
                                                                  by leaving same at the dwelling house, or usual place of abode, in the hands of
                                                                                                                         a person of suitable age and
                                  I 9935         Badge#           discretion residing therein as a member of the domiciliary establishment, whose
Deputy SliP'"'*'''                                                name and other facts connected with this service I learned by interrogating
                                                                  HIM/HER the said LAKEFRONT MANAGEMENT AUTHORITY being
Milea                                                             absent from the domicile at time of said service.
                                                                                                Returned the same day
               OO I
                                                                  __________________________________________ No.________________________
                                                                  Deputy Sheriff of
                                    ■r           PARISH




        ID:10920508                                         Page 1 of2




                                                                                                                       Exhibit 1
